            Case 2:21-mj-04211-DUTY Document 1 Filed 09/10/21 Page 1 of 34 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)            ‫ ܆‬Original   ‫ ܆‬Duplicate Original

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   CLERK, U.S. DISTRICT COURT        UNITED STATES DISTRICT COURT                                              FILED
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                                                             for the
 CENTRAL DISTRICT OF CALIFORNIA                                                                         09/10/21
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   BY: ___________________ DEPUTY                 Central District of California
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                                                                                                     BY: ___________________ DEPUTY
 United States of America

                        v.

 RICHARD GUTIERREZ and                                                 Case No. PM
 ARIEL NOVELO TERAN,

                        Defendant(s)


                                     CRIMINAL COMPLAINT BY TELEPHONE
                                    OR OTHER RELIABLE ELECTRONIC MEANS
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of September 8, 2021, in the county of Los Angeles in the Central District of California,

the defendant(s) violated:

              Code Section                              Offense Description
              21 U.S.C. §§ 846, 841(a)(1)               Conspiracy to Distribute and to Possess with Intent to
                                                        Distribute Methamphetamine

          This criminal complaint is based on these facts:

            Please see attached affidavit.

          _ Continued on the attached sheet.

                                                                                      /s/ Eric Selfridge
                                                                                   Complainant’s signature

                                                                               Eric
                                                                                 icc Selfridge, Special Agent
                                                                                    Printed name
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                                                                                                 n title
                                                                                                 nd title
 Attested to by the applicant in accordance with the requirements of Fed. R
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                                                                                        4.11 by
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 Date:                                 09/10/21
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 City and state: Los Angeles, California                               Hon. 0DULD
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                                                                                             U S Magistrate Judge
                                                                                                            Judg
                                                                                    Printed name and title




AUSA: Maria Elena Stiteler (x6148)
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                               AFFIDAVIT

I, Eric G. Selfridge, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

           This affidavit is made in support of a criminal

complaint and arrest warrants against Richard GUTIERREZ

(“GUTIERREZ”) and Ariel Novelo TERAN (“TERAN”) for a violation

of 21 U.S.C. §§ 846, 841(a)(1): Conspiracy to Distribute and to

Possess with Intent to Distribute a Controlled Substance.

           This affidavit is also made in support of an

application for a warrant to search the following digital

devices in the custody of the Homeland Security Investigations

in Commerce, California (collectively, the “SUBJECT DEVICES”),

as described more fully in Attachment A:

           a.   SUBJECT DEVICE 1: a ZTE Cricket Smart phone with

blue back, recovered during the arrest of TERAN; and

           b.   SUBJECT DEVICE 2: a white and grey Apple iPhone

in a clear case with serial number F2LP18RRG5QG and IMEI

354391065969060, recovered during the arrest of TERAN.

            The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

21 U.S.C. §§ 841(a)(1) (distribution of and possession with

intent to distribute controlled substances) and 846 (conspiracy

to distribute and to possess with intent to distribute

controlled substances) (the “Subject Offenses”), as described

more fully in Attachment B.     Attachments A and B are

incorporated herein by reference.
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             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

             I am a Special Agent (“SA”) with Homeland Security

Investigations (“HSI”), and have been so employed since

September 2018.    In April 2019, I completed the Criminal

Investigator Training Program and Homeland Security

Investigations SA Training at the Federal Law Enforcement

Training Center.    I am currently assigned as a SA with the Los

Angeles Interagency Metropolitan Police Apprehension Crime Task

Force (“LA IMPACT”).    Prior to my employment by the Department

of Homeland Security, I was employed as a Deputy Sheriff by the

Sheriff of Arlington County, Virginia, for approximately two

years.

             During the course of my employment as a law

enforcement officer, I have received training regarding laws

pertaining to arrest, search and seizure, and evidence

collection.    I have also gained practical experience making

arrests, conducting searches and seizures, and collecting



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evidence.   Between my employment by the Department of Homeland

Security and the Arlington County Sheriff’s Office, I have

received over one year of academy training, and over one year of

formalized field training.
            Additionally, I have had hundreds of hours of formal

and informal training in a wide variety of investigative and

other law enforcement subjects, including mobile surveillance

and narcotics sales and trafficking investigations.         I have

received numerous hours of instruction from SAs and detectives

at LA IMPACT regarding narcotics packaging, sales,

transportation, and usage.     I have received training from court

qualified experts in the fields of criminal investigations and

narcotics-related investigations.

            During the course of my employment, I have received

specialized training in the fields of criminal investigation by

attending numerous courses in criminal law, criminal

investigation, narcotics investigation and laws of arrest.           I

have attended a one-day surveillance class, which included

mobile and static surveillance.      The class also covered counter-

surveillance tactics utilized by criminals.        I have conducted

covert surveillance on residences and subjects that are

suspected of selling narcotics.

            I have assisted in serving search warrants for the

Department of Homeland Security, the Federal Bureau of

Investigation, the California Department of Justice, several

local police departments, and LA IMPACT, in connection with

investigations regarding narcotics, weapons, and various other



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offenses.   I have had specialized training and field experiences

in violations dealing with heroin, cocaine, amphetamines,

cannabis, depressants, prescription medication, and other

dangerous drugs.

                   III. SUMMARY OF PROBABLE CAUSE
            On September 8, 2021, Customs and Border Protection

(“CBP”) officers saw a white 2005 Scion bearing California

license plate number 5LBB341 (the “White Scion”) enter the

United States from Mexico at the San Ysidro, California Port of

Entry.   The White Scion was randomly referred to secondary

inspection, where a CBP canine handler conducted an exterior and

interior sniff of the White Scion and received positive alerts.

A CBP officer scanned the White Scion with an x-ray machine that

revealed anomalies consistent with concealed narcotics.

            CBP officers and Homeland Security Investigations

agents elected to release GUTIERREZ and the White Scion without

further delay so the White Scion could be followed to its

intended destination without alerting GUTIERREZ or other co-

conspirators to the involvement of law enforcement.         HSI agents

and other law enforcement agencies in the San Diego and Los

Angeles area conducted surveillance on the White Scion, and

ultimately watched the vehicle pull into the driveway of the

premises located at 12060 Pierce Street, Sylmar, California (the

“Pierce Street Premises”), where Los Angeles Police Department

aerial surveillance saw people at the Pierce Street Premises,

including a man wearing a red hat later identified as TERAN,

take the interior door panels off of the White Scion, remove



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bags from the White Scion, and carry the bags into a shed on the

Pierce Street Premises.
          Law enforcement observed TERAN drive the White Scion

from the Pierce Street Premises to a nearby shopping center,

where GUTIERREZ took possession of the White Scion.         TERAN then

entered a silver Ford F-150 bearing temporary California license

plate number BS66B28 (the “Silver Ford”).

          On September 8, 2021, the Honorable Gail J. Standish

issued search warrants to search the Pierce Street Premises, the

White Scion, the Silver Ford, and GUTIERREZ for violations of 21

U.S.C. § 841(a)(1) (possession with intent to distribute

controlled substances) and 21 U.S.C. § 846 (conspiracy and

attempt to distribute controlled substances) in case numbers

2:21-mj-04194, 2:21-mj-04195, 2:21-mj-04196, and 2:21-mj-04200.

          Law enforcement executed the federal search warrants

on September 8, 2021, and recovered approximately 74 pounds of a

white crystalline substance that field tested positive as

methamphetamine from the Pierce Street Premises and recovered

bulk US currency from the Silver Ford.

          The SUBJECT DEVICES were recovered from TERAN during

the traffic stop of the Silver Ford.

                   IV. STATEMENT OF PROBABLE CAUSE

          Based on my review of law enforcement reports, my

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:




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     A.   HSI INVESTIGATORS IDENTIFY THE WHITE SCION CONTAINING
          SUSPECTED NARCOTICS AT THE SAN YSIDRO PORT OF ENTRY
          I reviewed the report of CBP Officer A. Aldape, which

stated the following, in substance and in part:

          a.    On September 8, 2021, at approximately 9:46 a.m.,

CBP Officer Aldape observed GUTIERREZ, driving the White Scion,

approach CBP Officer Aldape’s booth at the San Ysidro,

California Port of Entry.     CBP Officer Aldape conducted a name

check on GUTIERREZ and received a computer-generated alert,

which I understand from my training and experience means the

vehicle was randomly referred for secondary screening.          CBP

Officer Aldape reported checking GUTIERREZ’s six-month border

crossing history, and saw that GUTIERREZ had no border crossings

prior to August 2021, but has had multiple border crossings

since that date.    GUTIERREZ told CBP Officer Aldape that he was

travelling to Otay Mesa for work.      CBP Officer Aldape referred

GUTIERREZ and the White Scion for secondary screening.

          I reviewed the report of CBP Canine Officer Mattoon,

which stated the following, in substance and in part:

          a.    CBP Canine Officer Mattoon screened the White

Scion with the officer’s certified drug detection dog and

received positive alerts.     Specifically, the drug detection dog

alerted to an odor at the rear of the White Scion.         CBP Canine

Officer Mattoon opened the White Scion’s rear hatch, and the

drug detection dog alerted to the inside quarter panel trim on

the driver’s side.




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           I reviewed the report of CBP Officer Walker, which

stated the following, in substance and in part:

           a.   During the secondary screening, CBP Officer

Walker also scanned the White Scion with a Z-Portal x-ray

machine.   CBP Officer Walker observed anomalies within the right

and left rear quarter panels of the White Scion consistent with

concealed narcotics, as seen in the below images:




           To facilitate further investigation, CBP officers did

not open the White Scion or search for the suspected narcotics.

Instead, agents decided to try to follow the White Scion to its


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intended destination using pursuit, aerial surveillance, and a

GPS tracking device. 1
             After the White Scion left the Port of Entry, agents

followed it as it traveled north along Interstate 5 towards Los

Angeles, California.

     B.      AGENTS VISUALLY SURVEIL THE WHITE SCION IN THE LOS
             ANGELES AREA

             On September 8, 2021, HSI agents assigned to LA

IMPACT, detectives from the Hawthorne Police Department (“HPD”),

and aerial surveillance from Los Angeles Police Department

Special Flights Services (“LAPD SFS”), took over lead

surveillance of SUBJECT VEHICLE 1 from agents assigned to HSI

San Diego Narcotics Enforcement Team (“SDNET”) along Interstate

5 in Orange County.

             From speaking to LA IMPACT agents who participated in

the surveillance and enforcement operation, I understand the

following:

             a.   At approximately 2:20 p.m., GUTIERREZ drove the

White Scion to a location nearby the Pierce Street Premises,

where he transferred possession of the vehicle to an unknown

person.   GUTIERREZ left the area unobserved on foot.         At

     1 Agents covertly installed a GPS tracking device on the
White Scion while at the border. Because of the exigencies of
the situation and to avoid a longer delay that could have caused
the driver or any co-conspirators to suspect or detect that the
suspected narcotics had been discovered by law enforcement,
agents installed the GPS tracking device and allowed the White
Scion to leave before applying for a warrant. Agents did not
immediately monitor the GPS tracking device. Rather, after
installation, an HSI agent applied for and received
authorization from the Honorable Allison H. Goddard in the
Southern District of California to use the pre-installed GPS
tracking device on the White Scion.


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approximately 2:26 p.m., the unknown driver drove the White

Scion to the driveway of the Pierce Street Premises.

           b.    Beginning at approximately 2:30 p.m., LAPD SFS

officers saw multiple unknown persons at the Pierce Street

Premises, including a man wearing a red hat (later identified as

TERAN), remove the interior door panels from the White Scion,

remove bags from the White Scion, and carry the bags into a shed

on the Pierce Street Premises.

           c.    At approximately 2:56 p.m., law enforcement

observed TERAN drive the White Scion from the Pierce Street

Premises to a nearby shopping center, where GUTIERREZ took

possession of the White Scion.       TERAN then entered the Silver

Ford, which was driven by a third person with initials R.T.V.

           d.    Law enforcement conducted traffic stops of both

the White Scion and the Silver Ford at separate locations.

      C.   SEARCH OF THE PIERCE STREET PREMISES, THE WHITE SCION,
           AND THE SILVER FORD
           On September 8, 2021, the Honorable Gail J. Standish

issued search warrants to search the Pierce Street Premises, the

White Scion, the Silver Ford, and GUTIERREZ for violations of 21

U.S.C. § 841(a)(1) (possession with intent to distribute

controlled substances) and 21 U.S.C. § 846 (conspiracy and

attempt to distribute controlled substances) in case numbers

2:21-mj-04194, 2:21-mj-04195, 2:21-mj-04196, and 2:21-mj-04200.

The affidavit in support of the search warrant is attached

hereto as Exhibit 1 and incorporated herein by reference.




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           Law enforcement officials executed the warrant to

search the Pierce Street Premises, the White Scion, and the

Silver Ford, on September 8, 2021.        As I understand from

speaking to participating HSI agents:

           a.    Approximately 73.6 pounds of a white crystalline

substance that field-tested positive as methamphetamine were

recovered from a shed in the rear of the property.          These

narcotics were packaged in a total of 69 approximately one-pound

packages, which were concealed within two livestock feed bags,

which were then concealed inside a blue plastic barrel.

Additionally, approximately 11.8 ounces of suspected

methamphetamine were found in a wooden box in the same shed.

This suspected methamphetamine was packaged in smaller plastic

bags consistent with narcotics distribution.         The property owner

of the Pierce Street Premises advised that the buildings to the

rear of the property, including the shed in which the narcotics

were found, are rented out to unknown individuals.

           b.    A police narcotics detection canine was used to

search both the White Scion and the Silver Ford.          The canine

alerted to the presence of narcotics in both vehicles.           No

narcotics were recovered from either vehicle.         The canine

alerted to the center console of the Silver Ford, where agents

subsequently found bulk U.S. currency.        The driver, identified

herein as R.T.V., stated in an interview that the bulk U.S.

currency totaled approximately $26,500.




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           c.    One cell phone was recovered from GUTIERREZ.            The

SUBJECT DEVICES were recovered from TERAN during a search

incident to TERAN’s arrest.

             V. TRAINING AND EXPERIENCE ON DRUG OFFENSES
           Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.    Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences, stash houses, and vehicles.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the



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seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.            In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

            d.   Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices and in their residences, stash houses, and

vehicles.   Drug traffickers often keep records of meetings with

associates, customers, and suppliers on their digital devices

and in their residences, stash houses, and vehicles, including

in the form of calendar entries and location data.

            e.   Drug traffickers often use vehicles to transport

their narcotics and may keep stashes of narcotics in their

vehicles in the event of an unexpected opportunity to sell

narcotics arises.

            f.   Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often stored in their

residences, stash houses, and vehicles.

            g.   Drug traffickers often keep drugs in places where

they have ready access and control, such as at their residences,

stash houses, and vehicles, or in safes.         They also often keep

other items related to their drug trafficking activities at



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their residence, such as digital scales, packaging materials,

and proceeds of drug trafficking.       These items are often small

enough to be easily hidden and thus may be kept at a drug

trafficker’s residence even if the drug trafficker lives with

others who may be unaware of his criminal activity.

             h.   It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as “drop phones,” for

actual voice communications.

           VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
             As used herein, the term “digital device” includes the

SUBJECT DEVICES.

             Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

             a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the



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Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures



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are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it can take a substantial period of time to search a

digital device for many reasons, including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           c.    Both digital devices recovered appear to be

programmed for use in the Spanish Language, meaning that their

review will require investigators that are fluent in the Spanish

Language, as well as translators fluent in the Spanish Language,

which will significantly increase the amount of time necessary

to review the devices.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,



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which I know from my training, experience, and review of

publicly available materials:

           a.     Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.     In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

all of the passcodes of the devices likely to be found in the

search.

           c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.     Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of



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the warrant: (1) depress TERAN’s thumb- and/or fingers on the

devices; and (2) hold the devices in front of TERAN’s face with

his eyes open to activate the facial-, iris-, and/or retina-

recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                             VII. CONCLUSION

           For all of the reasons described above, there is

probable cause to believe that GUTIERREZ and TERAN have violated

21 U.S.C. §§ 846, 841(a)(1): Conspiracy to Distribute and to

Possess with Intent to Distribute a Controlled Substance.           There

is also probable cause that the items to be seized described in

Attachment B will be found in a search of the SUBJECT DEVICES

described in Attachment A.


Attested to by the applicant in
accordance with the requirements
of Fed. R.
         . Crim. P. 4.1 by
telephone on this
              this ____
                   10th day of
September,
         , 2021.
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UNITED STATES
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                           EXHIBIT 
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